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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   Civil Action No. 17-cv-03018-MSK-NRN

   CLARENCE MOSES-EL,

          Plaintiff

   v.

   CITY AND COUNTY OF DENVER,
   MITCHELL R. MORRISSEY,
   BONNIE BENEDETTI,
   LYNN KIMBROUGH,
   ROBIN WHITLEY,
   JEFF CARROLL,
   DR. KATHRYN BROWN-DRESSEL, and
   ESTATE OF JAMES HUFF,

          Defendants.


                                         FINAL JUDGMENT

          In accordance with orders filed during the pendency of this case, and pursuant to Fed. R.

   Civ. P 58(a) the following Final Judgment is hereby entered.

          Pursuant to the Opinion and Order Granting the Defendants’ Motions to Dismiss by

   Senior District Judge Marcia S. Krieger (Doc. #119) filed on March 25, 2019, it is

          ORDERED that:

          Judgment is entered in favor of Defendants and against the Plaintiff. All claims are

   dismissed in the Amended Complaint in accordance with Doc. #119.

          ORDERED that costs are awarded to the defendant and against the plaintiff upon the

   filing of a bill of costs within 14 days of entry of judgment, in accordance with the procedures

   set forth in Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1
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        The case will be closed.

        DATED this 25th day of March , 2019.


                                          ENTERED FOR THE COURT:
                                          JEFFREY P. COLWELL, CLERK

                                          s/Patricia Glover
                                            Deputy Clerk
